
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-05-251-CV





DONNA DARLING, COMMUNITY 	APPELLANTS

MANAGER OF CLAYTON ESTATES 

AND RANDY BROOKS, REGIONAL MANAGER 

OF CMH PARKS, INC./CLAYTON ESTATES 



V.



ROSILIO BONILLA	APPELLEE



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FROM COUNTY 
COURT AT LAW NO. 2 OF DENTON COUNTY



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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT



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On July 5, 2005 and July 27, 2005, we notified appellants, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. &nbsp;
See
 
Tex. R. App. P.
 42.3(c). &nbsp;Appellants have not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellants have failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court's order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellants shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 42.1(d).



PER CURIAM



PANEL D: DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: August 18, 2005

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




